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[Dnftpoc] [Asset Notice]
                                       UNITED STATES BANKRUPTCY COURT
                                          MIDDLE DISTRICT OF FLORIDA
                                               ORLANDO DIVISION



In re:                                                                         Case No. 6:19−bk−00133−KSJ
                                                                               Chapter 7

Richard Terry Bourne

Patricia Shaffer Bourne

________Debtor(s)________/
                          NOTICE OF DEADLINE TO FILE PROOF OF CLAIM

                 NOTICE IS HEREBY GIVEN TO CREDITORS, AND OTHER PARTIES IN INTEREST:

   Pursuant to Fed. R. Bankr. P. 3002(c)(5), creditors are hereby notified that a dividend now appears possible in this
case. Therefore, the "Deadline to File a Proof of Claim" in this case is November 7, 2019 .

    A proof of claim is a signed statement describing a creditor's claim. If you do not file a proof of claim by the
"Deadline to File a Proof of Claim" provided herein, you might not be paid any money on your claim against the
Debtor in the bankruptcy case. To be paid, you must file a proof of claim, even if your claim is listed in the schedules
filed by the Debtor. Any creditor who has filed a proof of claim in this case previously need not file another proof of
claim.

   A Proof of Claim form ("Official Form B 410") may be filed on−line at the Court's website −
www.flmb.uscourts.gov, or obtained at the United States Courts Web site:
(http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx) or at any bankruptcy clerk's office. A claim
may be filed with, or mailed to, the Clerk of the Bankruptcy Court.

   Copies of supporting documents, such as statements of account, invoices, ledger cards, etc. should be attached to
the proof of claim whether filing via the internet, in person or by mail.



           Dated August 5, 2019 .


                                          Sheryl L. Loesch , Clerk of Court
                                          George C. Young Federal Courthouse
                                          400 West Washington Street
                                          Suite 5100
                                          Orlando, FL 32801


           *All references to "Debtor" shall include and refer to both debtors in a case filed jointly by two
           individuals.

           Copies furnished to:
           All Interested Parties
